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                    Exhibit F
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                                                                                            15th January 2021




 Dear Sirs,

 Re: Spanish into English Certified Translation

 Language Reach Limited is a UK-registered professional translation and interpreting
 company and a fully qualified registered member of The Association of Translation
 Companies (Member No. 2018ATCR1238). We hereby confirm that we have
 translated the enclosed document(s) from Spanish into English.

 As a responsible translation agency we only employ certified linguists to work with
 us. We are satisfied with the linguistic accuracy and hereby confirm that the English
 written translation of the Spanish document(s) represents its fair and accurate
 linguistic message as intended in the original file(s).

 We hereby confirm that this is a true and correct translation and certify the linguistic
 accuracy.

 For more information, please contact Language Reach Limited on +44 (0) 208 677
 3775.

 Yours sincerely,




 Aniello Attianese
 Senior Account Manager




        Registered in England & Wales 07635166 Tel: +44 (0) 208 677 3775 Email: info@languagereach.com    15/01/2021
                           Address: Unit F11B, Parkhall Business Centre, London, SE21 8EN
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    [emblem]
    The Ministry of People’s Power for External Relations
    of the Bolivarian Republic of Venezuela


    Ministerial Decree No. 000860

                                                                                        Caracas, 1 July 2020



    Alex Nain Saab Moran
    Special Representative to the Islamic Republic of Iran
    FAO Mr. Alejandro Correa, Venezuelan Ambassador to Cape Verde
    Praia
    Cape Verde.-


    PRIVATE AND CONFIDENTIAL – DIPLOMATIC CORRESPONDENCE



    Dear Alex,

           On behalf of His Excellency Nicolás Maduro Moros, President of the Bolivarian Republic of
    Venezuela, I send greetings and the assurance of our full support for you in the difficult situation in
    which you find yourself.

            As you know, the Republic of Cape Verde has received an extradition request from the
    United States. That was to be expected, and now we must focus our attention on defending
    ourselves, by all means possible, against this atrocious example of extraterritorial application of law
    by Donald Trump’s government.

            We are fighting terrible injustice, but the President of the Republic has every confidence in
    your ability to win this battle.

            In light of this and, given your position as Special Representative of the Bolivarian Republic
    of Venezuela, I hereby remind you that Venezuela’s foreign policy is an integral part of the national
    security and defence policy, in accordance with article 19 of the decree with value, rank and force of
    the Organic Law for National Security, agreeing with articles 4, 7, 15 and 16 ejusdem.

            Therefore, and considering the activities that have been recommended to you, you have
    information about national security and defense that the above-mentioned Organic Law considers to
    be “classified” (article 27). We have reasonable grounds to believe that if you are extradited to the
    United States, you will be put under pressure, whether legitimately or not, to disclose that
    information and thus put our country at great risk.




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    [emblem]
    The Ministry of People’s Power for External Relations
    of the Bolivarian Republic of Venezuela


             I also remind you that as Special Representative, you are subject to Venezuelan law and
    have a duty to maintain strict confidentiality with respect to the classified information you possess.
    Any violation of this duty may incur criminal proceedings and sanctions, as set out in Venezuelan
    law, for putting national security and defense at risk by divulging information and revealing secrets
    and for the crime of treason (amongst other applicable laws, article 55 of the decree with rank, value
    and force of the Organic Law for National Security and articles 4.1, 128 and 206 of the Penal Code of
    the Bolivarian Republic of Venezuela).

             In view of the preceding, His Excellency Nicolás Maduro Moros, President of the Bolivarian
    Republic of Venezuela, has asked me to inform you that your voluntary acceptance of extradition to
    the United States of America would put national security and defense and, thus, the Bolivarian
    Republic of Venezuela, at risk. We therefore ask that you take all necessary legal precautions to
    avoid extradition. Be assured also that our Government will do its utmost, within the framework of
    justice and rights, wherever possible, to protect you and avoid the violation of your human rights.

            I send you Bolivarian and Chaves-style greetings, assuring you of my highest consideration.


                                                                                        [stamp:]
                                                                          BOLIVARIAN REPUBLIC OF VENEZUELA
                                                                                       [emblem]
                                                 [signature]                      MINISTER’S OFFICE
                                                Jorge Arreaza              The Ministry of People’s Power for
                                                   Minister                        External Relations




                                                                                                                15/01/2021
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